  NORTH CAROLINA                              '~   f I F flN THE GENERAL COURT OF JUSTICE
                                                    ._ ~~ "='   SUPERIOR COURT DIVISION
  FRANKLIN COUNTY                                                    17 cvs   f5?8

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 CLAIRE MURPHY, by and          througli-~HELLP (b~~
 MULLEN, Attorney-in-Fact, on behalf of               y~~~
 herself and all others similarly situated,               )
                                                         )
                        Plaintiff,     )
                                       )                          CLASS ACTION COMPLAINT
 v.                                    )                             (Jury Trial Demanded)
                                       )
 SABERHEALTHCARE GROUP, LLC, SABER )
 HEAL THCARE HOLDINGS, LLC, FRANKLIN )
 OPERATIONS, LLC d/b/a FRANKLIN MANOR )
 ASSISTED LIVING CENTER, SMITHFIELD   )
 EAST HEALTH HOLDINGS, LLC d/b/a      )
 GABRIEL MANOR ASSISTED LIVING        )
 CENTER, and QUEEN CITY AL            )
 HOLDINGS, LLC d/b/a THE CROSSINGS    )
 AT STEELE CREEK,                     )
                                      )
                  Defendants.         )


        Plaintiff CLAIRE M. MURPHY, by and through Michelle Mullen as Attorney-in-Fact

("Plaintiff'), by and through their undersigned counsel, on behalf of themselves and all other

persons and entities similarly situated, aver as follows:

                                        INTRODUCTION

       1.      Defendants SABER HEALTHCARE GROUP, LLC, SABER HEALTHCARE

HOLDINGS, LLC, FRANKLIN OPERATIONS, LLC, SMITHFIELD EAST HEALTH

HOLDINGS, LLC, and QUEEN CITY AL HOLDINGS, LLC (collectively, "Saber") own,

operate or manage three adult care homes in North Carolina: Franklin Manor Assisted Living

Center ("Franklin Manor"), Gabriel Manor Assisted Living Center ("Gabriel Manor"), and The

Crossings at Steele Creek ("Steele Creek") (collectively, the "North Carolina Care Centers").




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         2.       This class action arises out of Saber's failure to comply with its contractual and

 statutory obligations to provide assisted living services that meet the needs of the residents of the

 North Carolina Care Centers, including Plaintiff and the Class Members.

        3.       The North Carolina Care Centers have failed and continue to fail to provide

 sufficient services to meet the basic needs of their residents ("Basic Services"). For exa."tllple, The

 North Carolina Division of Health Services Regulation ("NC DHSR") has investigated and

found residents left to sit for hours, even days, in their own waste, not bathed for weeks, locked

in or out of their rooms, not provided with food or housekeeping services, and not timely

provided with medications if they were provided their medications at all.

        4.       The North Carolina Care Centers each have iicensed Special Care Units for

Alzheimer's and Related Disorders ("Special Care Unit"). Saber advertises, markets, and

otherwise promotes each of the North Carolina Care Centers as having special care units for

residents with Alzheimer's or related disorders. As such, the North Carolina Care Centers must

maintain licensure and meet the rules and requirements of lOA N.C.A.C. 13F .1301 et seq.

        5.       Among those requirements is sufficient staffing as mandated by lOA N.C.A.C.

13F .1308(a) ("Special Care Unit Staffmg") which states:

                Staff shall be present in the unit at all times in sufficient number
                to meet the needs of the residents; but at no time shall there be
                less than one staff person, who meets the orientation and training
                requirements in Rule .1309 of this Section, for up to eight residents
                on first and second shifts and 1 hour of staff time for each
                additional resident; and one staff person for up to 10 residents on
                third shift and .8 hours of staff time for each additional resident.
                [Emphasis added].

       6.       lOA N.C.A.C. 13F .1308(a) establishes two independent criteria by which

adequate staffing is evaluated: (1) the ratio of staff to residents in a given shift (the "Objective

Threshold"); and (2) whether the needs of the residents are being met (the "Staffmg Standard").


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             7.       A Special Care Unit that fails to staff the facility at the Objective Threshold, e.g.

    fewer than one (1) staff person per eight (8) residents on first or second shift, violates lOA

    N.C.A.C. 13F .1308(a) under any circumstances.

           8.        However, a Special Care Unit that staffs its facility at the Objective Threshold

 still violates lOA N.C.A.C. 13F .1308(a) if it fails to meet the Staffing Standard, i.e. provide

 enough staff to meet the needs of the residents.

          9.         In other words, the inquiry into whether a Special Care Unit has provided

 sufficient staffing under lOA N.C.A.C. 13F .1308(a) proceeds as follows:

                 Were enough staff persons on duty to meet
                the 1 staff person to 8 (or 10) residents ratio?




         I        NO        I                              I   YES




I      UNDERSTAFFED                 I              Was there enough staff to
                                                        meet the needs
                                                      of the residents?

                                         /                                     ~
                                I       NO
                                               I                                    YES
                                                                                              I

                       I     UNDERSTAFFED              I                       STAFFING IS
                                                                               ADEQUATE

         10.       The North Carolina Care Centers have been investigated by NC DHSR and

repeatedly found to be in violation ofthe lOA N.C.A.C. 13F .1308(a) staffing requirements.




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         11.    As a consequence of this understaffing, each of Saber's North Carolina Care

 Centers were cited for numerous violations of the regulations set forth in lOA N.C.A.C. 13F

 .1301, et seq., including, but not limited to, violations ofthe staffing requirements.

        12c      Because they did tlot l1ave e11ougl1 staff, Saber a11d tl1e t,Jortl1 Carolina Care

 Centers were unable to comply with their contractual obligation to provide Basic Services.

        13.     Upon information and belief, Saber's North Carolina Care Centers continue to fail

to staff the North Carolina Centers in a sufficient number to meet the needs oftheir residents.

        14.     Saber's deliberate and intentional decision to understaff the North Carolina Ca.re

Centers was motivated entirely by its desire to increase profits at the expense of its residents with

Alzheimer's and dementia.

        15.    Plaintiff and the Class Members bring this action to recover damages for breach

of contract and violations of the North Carolina Unfair Trade Practices Act. Plaintiff and the

Class Members also seek to enjoin Saber from continuing to understaff its North Carolina Care

Centers pursuant to N.C. Gen. Stat. § 131D-28.

                                 JtJIUSDICT10:N AND VENUE
       16.     The subject matter jurisdiction over this action and personal jurisdiction over the

Defendants is conferred upon and vested in this Court under and by virtue ofN.C. Gen. Stat.§§

1-75.4, 7A-240, a..1d 7A-243.

       17.     Venue for this action is properly laid in Ll}is Court pursuant to and in accordance

with N.C. Gen. Stat.§§ 1-76, 1-77, 1-79, 1-80, and 1-82.




                                         THE PARTIES



                                                 4


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         18.    Plaintiff CLAIRE M. MURPHY, by and through MICHELLE MULLEN, as the

  Durable Power of Attorney ("Murphy") is a citizen and resident of Franklin County, North

  Carolina. Mrs. Claire Murphy was a resident of Franklin Manor from April 7, 2015 through

 January 1, 2016. She then was a resident of Gabriel Manor from the end of January 2016 through

 April 19, 2016, at which point she moved back to Franklin Manor.

         19.    Defendant SABER HEALTHCARE HOLDINGS, LLC ("Saber Holdings") is an

 Ohio corporation that was at all times material hereto doing business in North Carolina as the

 owner, operator, manager, and/or exercising control over the adult care homes known as Franklin

 Manor Assisted Living Center, Gabriel Manor Assisted Living Center, and The Crossings at

 Steele Creek. At all times material hereto, Saber Holdings was engaged in business in North·

 Carolina.

        20.    Defendant SABER HEALTHCARE GROUP, LLC ("Saber Group") is an Ohio

corporation that was at all times material hereto doing business in North Carolina as the owner,

operator, manager, and/or exercising control over the adult care homes known as Franklin Manor

Assisted Living Center, Gabriel Manor Assisted Living Center, and the Crossings at Steele

Creek. At all times material hereto, Saber Group was engaged in business in North Carolina.

       21.     Defendant FRANKLIN OPERATIONS, LLC ("Franklin Operations") is a

Virginia Corporation with a principal place of business located in North Carolina. At all times

material hereto Franklin Operations was doing business in North Carolina as the licensed owner

and operator of Franldin Manor, located at 100 Sunset Dr., Youngsville, North Carolina. At all

times material hereto, Franklin Operations was engaged in business in North Carolina.

       22.     Defendant SMITHFIELD EAST HEALTH HOLDINGS, LLC ("Smithfield") is a

North Corporation. At all times material hereto Smithfield was doing business in North Carolina

as the licensed owner and operator of Gabriel Manor, located at 84 Johnson Estate Road,
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 Clayton, North Carolina. At all times material hereto, Smithfield was engaged,in business in

 Nort..I-J. Carolina.

          23.       Defendant QUEEN CITY AL HOLDINGS, LLC ("Queen City") is a North

 Carolina Corporation. At all times material hereto Queen City was doing business in North

 Carolina as the licensed owner and operator of Steele Creek, located at 13600 S. Trjon Street,

 Charlotte, NC. At all times material hereto, Queen City was engaged in business in North

 Carolina.

         24.       On information a..'1d belief, at all times herein alleged, each Defendant was the

agent, partner, joint venturer, representative, and/or employee of the remaining Defendants, fuJ.d

was acting within the course and scope of such agency, partnership, joint venture, and/or

employment. Furthermore, in engaging in the conduct described below, the Defendants were all

acting with the express or implied knowledge, consent, authorization, approval, and/or

ratification oftheir co-defendants.

                                         COMMON FACTS

    I.         Defendants Are Alter Egos of Each Other

         25.      Defendants have created a complex ownership and management structure in order

to shield themselves from liability and to carry out their single enterprise with financial

impunity.

         26.      There is sufficient tinity of interest and ovmership among Defendants, and

between each of them, such that the acts of one are for the benefit and can be imputed to the acts

of others.

         27.      Saber owns and operates eighty-three (83) skilled nursing and assisted living

facilities in six states including Pennsylvania, Ohio, Florida, Virginia, Indiana, and North

Carolina.
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           28.       The corporate headquarters for the North Carolina Care Centers, Saber Group,

  and Saber Holdings are all located at the same address; 26691 Richmond Rd. Bedford Hts., OH

 44146.

           29.       The North Carolina Care Centers are undercapitalized.

           30.       Saber Group owns the trademark "Saber Healthcare Group." Defendants use this

 mark and the branding that accompanies it for all eighty-three (83) skilled nursing and assisted

 living facilities throughout the country. The sign for each facility contains the mark and lists the

 facility as "A Saber Healthcare Group [facility]," as depicted here:




       31.          Through its sharing of this mark, as well as other branding, the Defendants

portray themselves to the public as a single enterprise. The email address for employees at the

North Carolina Care Centers and Saber is [name]@saberhealth.com and the facilities do not

maintain         separate   websites,   but   rather,   have   separate      webpages   within   the

http://www.saberhealth.com website. Saber portrays itself to the public that the North Carolina

Care Centers are "Saber Healthcare Group [facilities]."

       32.         Upon information and belief, Defendants also disregard corporate formalities and

commingle funds.


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           33.       Saber exercises complete dominion and control over the North Carolina Care

 Centers, performing the executive functions for each of the North Carolina Care Centers,

 including dete1mining the budget and staffing level of each facility.

           34.      Saber exercises pervasive and continual contiOl over the North Carolina Care

 Centers, such that they are mere agents or instrumentalities of what is often referred to in

 publications, directives, handbooks, manuals, contracts, advertising, and other publications as

 "Saber Healthcare Group."

    II.          Staffing of the North Carolina Care Centers

          35.       All adult care homes licensed in North Carolina are subject to N.C. Gen. Stat. §

131D-2.1, et seq.

          36.       All adult care homes in North Carolina are also subject to the regulations

contained in lOA N.C.A.C. 13F .0101, et seq.

          37.       All adult care homes that are licensed as a "Special Care Unit" for the provision

of services to residents with Alzheimer's and Related Disorders are also subject to the

regulations set forth in lOA N.C.A.C. 13F .1301, et. seq.

          38.      The North Carolina Care Centers each have a licensed "Special Care Unit" under

N.C. Gen. Stat. § 131D-4.6 for the provision of adult home care services to residents with

Alzheimer's and Related Disorders.

          39.      Accordingly, Saber and the North Carolina Care Centers are subject to and

required to comply with N.C. Gen. Stat.§ 131D-2.1, et seq,. lOA N.C.A.C. 13F.0101, et seq, and

lOA N.C.A.C. 13F.l301, et. seq.

          40.      More specifically, the North Carolina Care Centers are required, inter alia, to

comply with the Special Care Unit staffing requirements set forth in lOA N.C.A.C. 13F .1308.



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            41.      Saber consistently failed to and continues to fail to comply with the requirements

  set forth in lOA N.C.A.C. 13F.1301, et. seq., including, but not limited to, lOA N.C.A.C. 13F

  .1308 (staffing requirements), lOA N.C.A.C. 13F.l004(g) (medication administration), and lOA

 N.C.A.C. 13F.0604(e)(2) (staff duties limitations).

            42.     Additionally, Saber and the North Carolina Care Centers are required to comply

 with N.C. Gen. Stat. § 131D-2.15, which requires Defendants to perform an assessment of each

 resident within seventy-two (72) hours of admission and to: " ... use the assessment to develop

 appropriate and comprehensive service plans and to develop the level and type of facility staff

 that is needed to meet the needs of the residents."

           43.      In violation of N.C. Gen. Stat. § 131D-2.15, Defendants staff the North Carolina

 Centers based on the Objective Threshold requirement rather than the Staffing Standard based on

 the needs of the residents.

           44.      Staffing to the Objective Threshold rather than the Staffing Standard increases

profits for Defendants at the expense of the residents, whose basic needs cannot be and were not

met.

    III.         The Residency Agreement

           45.     Plaintiff and Class Members each entered into a written contract with Defendants

called the Assisted Living Residency Agreement ("Residency Agreement"). A true and accurate

copy of the Residency Agreement is attached hereto as Exhibit A.

        46.        The Residency Agreement contemplates providing "Basic Services" in exchange

for good and valuable consideration ranging from $4,100 to $5,000 per month depending on

whether a resident elected a small companion suite, a large companion suite, or a private studio.

       47.         The Residency Agreement defines "Basic Services" as the provision of: " ... room,

board, and such services as may be required for the ... safety, good grooming, and well-being of
                                                   9


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 the Resident." These Basic Services were physical and manual services performed by unlicensed

 care aides, including, for example, assistance with walking, toileting, housekeeping, grooming,

 eating, delivering medications, and overall supervision to ensure that the residents remain safe.

          48.      The Residency Agreement also offers residents "Additional Services" for the

 provision of" ... certain non-routine services and supplies in accordance with the orders of the

 Resident's attending physician and/or upon the Resident's request or consent." The Residency

Agreement provides that the list of additional services is provided in the Fee Schedule, a true and

accurate copy of which is attached hereto as Exhibit B.

         49.       Additional services include a $900 per month charge for residents who need

physical assistance of two (2) people for care or assistance with dining, and an extra $300 per

month for residents who require the administration of more than six (6) medications.

         50.       Thus, when Additional Services are purchased, Defendants are contractually

obligated to:

                   a. Maintain sufficient staff to enable two (2) staff members to assist residents
                      with transfers, ambulation, toileting, eating, bathing and any other activity
                      necessaryto provide for the resident's well-being; and

                  b. Maintain sufficient staff to provide more than six (6) medications to residents
                     within one hour of the scheduled time.

         51.      In reality, Defendants do not expend any supplemental resources to provide

additional services despite being paid to do so.

         52.      Defendants consistently staffed the North Carolina Care Centers in such a manner

that they were unable to provide the services that were required for the safety, good grooming

and well-being ofthe Plaintiff and Class Members.

   IV.         Saber's Policy and Routine Practice of Understaffing its Facilities




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           53.    Saber's understaffing ofthe North Carolina Care Centers is business as usual for

  Saber. Since opening for business in North Carolina, Saber has had in place a company-wide

  policy of staffing to the Objective Threshold rather than the Staffing Standard of meeting the

  needs of the residents.

          54.     By consistently underfunding the North Carolina Care Centers and mandating

 staffing levels below the state's requirements, Saber has violated several North Carolina

 Regulations, including, but not limited to, lOA N.C.A.C. 13F .1308 (setting forth minimum

 staffing requirements for special care units), N.C. Gen. Stat. § 131D-2.15 (mandating that

 residents be assessed within seventy-two hour of admission and requiring the facility to

 determine and implement the type and level of staffing necessary to meet the needs of the

 resident), 1OA N.C.A.C. 13F.0604 (providing that aides shall not perform housekeeping and food

 service duties during the first and second shifts), and lOA N.C.A.C. 13F.l004 (providing that

medications shall be administered within one hour before or after the prescribed or scheduled

time).

         55.     Due to understaffing, Saber has not provided the services required by North

Carolina law for by Plaintiff and Class Members.

         56.     Saber did not have adequate staff to handle housekeeping and food service. As a

result, Personal Care Aides ("PCAs") and Medication Aides ("MAs") at the North Carolina Care

Centers were subsequently diverted from providing personal care and assistance to the residents

in order to take care of housekeeping and food service.

         57.     North Carolina law prohibits aides like PCAs and MAs from being assigned food

service duties. lOA N.C.A.C. 13F.0604(e)(2)(E) provides that in adult care homes with a

capacity or census of 21 or more like the North Carolina Care Centers, "Aides shall not be

assigned food service duties."
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        58.        As a result of understaffing, residents also have not been provided their

medications within one hour before or one hour after the prescribed and/or scheduled time, in

violation of lOA. N.C.A.C. 13F.0604.

       59.     The North Carolina Care Centers have been cited on numerous occasions by NC

DHSR for failing to meet the needs of the residents and for insufficient staffing.

       60.     As reported by employees and former employees, Saber routinely understaffs the

North Carolina Care Centers and other facilities it owns and operates. For instance:

               a. "CNi\.'s have up to 14 resident[s] on first shift, causing them to not be able to
                  provide the care they need per resident resulting in them not bathing residents,
                  pressure ulcers, no infection control, and numerous falls. This company only
                  cares about money and not the needs of the residents and/or staff." (former
                  employee at a Saber facility in North Carolina);

              b. "Little concern for residents on behalf of corporate. Same can be said of staff,
                 corp. does not care for its employees, only its profits." (former employee at a
                 Saber facility in Ohio);

              c. "The management has a policy of frugality that trumps the well-being of
                 patients and employees, I truthfully have never witnessed a less professional
                 work environment in a place designed to care for human beings." (former
                 employee at a Saber facility in Ohio);

              d. "This is absolutely the worst company I have ever worked for. They are
                 constantly short staffed, unorganized and very poorly managed." (former
                 employee at a Saber facility in Virginia);

              e. '"Understaffed' is being kind. Facility was almost on a provisional license due
                 to 21 deficiencies." (fom1er employee at a Saber facility in Pennsylvania);

              f.     "Regional was only concerned about census not quality care." (former
                     employee at a Saber facility in Virginia);

              g. Cons of working at a Saber facility in North Carolina include, "inadequate
                 staffing, training, orientation (non-existent) ... " (former employee at a Saber
                 facility in North Carolina);

              h. "understaffed, overwhelmed with. work with no help." (current employee at a
                 Saber facility in Ohio);



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                   1.   Cons of working at a Saber facility include, "Poor training, poor organization,
                        poor staffing.";

                  j.    "[The dietary manager] even texted his employees that they needed to work
                        without pay because corporate was on him to cut labor. . .. If you like being
                        lied to and working for a company that understaffs and randomly cuts hours
                        then saber is the place for you." (current employee at a Saber facility in
                        Indiana);

                  k. "Saber Healthcare is definitely a big player, but I'm afraid the corporate team
                     has lost focus on what's important . . . the staff on the community level. ...
                     Unfortunately, the ones who end up losing are the residents." (former
                     employee at a Saber facility); and

                  1.    Cons of working at a Saber facility in Pennsylvania include, "[being]
                        overworked and under paid, management does not care about employees, ...
                        inexperienced nursing not fully trained." (current employee at a Saber facility
                        in Pennsylvania).

    V.         NC DHSR Investigations

         61.     In 2015 and 2016, each of the North Carolina Care Centers were inspected by the

NC DHSR. Deficiencies and violations were noted at each facility, primarily as a result of

understaffing.

         62.     At multiple times in 2015, the NC DHSR cited Franklin Manor for violations of

lOA N.C.A.C. 13F.0604, lOA N.C.A.C. 13F.0901(a), lOA N.C.A.C. 13F.0902(b), lOA N.C.A.C.

13F.0902(c)(3-4), lOA N.C.A.C. 13F.0904(d)(3)(A), lOA N.C.A.C. 13F.0909, lOA N.C.A.C.

13F.l004(a), lOA N.C.A.C. 13F.l004G), lOA N.C.A.C. l308(a), N.C. Gen. Stat.§ BlD-21(2),

and N.C. Gen. Stat.§ 131D-21(4).

         63.     Gabriel Manor was cited by the NC DHSR for similar deficiencies and violations

multiple times in 2015.

         64.     Steele Creek was cited for similar deficiencies and violations multiple times in

2014, 2015, and 2016.




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        65.       NC DHSR performed confidential interviews with four Franklin Manor staff

 members regarding their December of2015 investigation, which revealed the following:

               a. The facility did not employ dietary aids;

               b. The PCAs and MAs were required to set up the dining room, serve the
                  residents in the dining room, break down the tables after meals, and wipe
                  down and sweep the dining room after each meal;

               c. The first shift reported to work at 07:00a.m. and the first thing they had to do
                  was start getting residents served;

               d. The MAs usually start their 08:00 a.m. medications between 8:30 and 09:00
                  a.m. due to serving the brea..kfast;

              e. The medications that were due at 08:00 a.m. usually were finished between
                 10:30 a.m. and 10:45 a.m.;

              f     The PCAs and MAs were required to launder and fold the cloth napkins after
                    each meal;

              g. The facility did not have a laundry person;

              h. The night staff usually did the laundry at night, but during first or second shift
                 if a resident soiled their clothing, they were responsible for laundering their
                 clothes;.and

              l.    The residents were not consistently bathed twice a week, as scheduled and
                    required.

       66.    NC DHSR also conducted confidential interviews of family members of Franklin

Manor residents and made the following findings:

              a~    Family members came to the facility to assure the resident was receiving their
                    shower, got their hair washed and teeth brushed after observing the facilities'
                    failure to consistently do so;

              b. During dining, there were residents seated at tables that needed assistance, but
                 there were not enough staff to assist them with eating;

              c. One resident who was new to the facility, would yell out during meals because
                 she needed assistance with eating. After a while, a staff member would return
                 her to her room where she would continue to yell out. This happened every
                 day at lunch;

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                    d. There had been a lot of falls in the facility; and

                    e. They had seen a lot of residents soil themselves because they were locked out
                       of their rooms by Defendants.

        67.        NC DHSR also noted that residents were regularly locked out of their rooms as

 well as locked in their rooms.

        68.        NC DHSR also conducted an interview with the Franklin Manor Administrator

 and made the following findings:

                  a. The facility employs one cook and one dietary manager, but no dietary aids;

                  b. That the PCAs and MAs fill in as dietary aides;

                  c. That the PCAs and MAs set the tables in the dining room, serve the thirty-
                     seven (37) residents in the dining room, bus the tables after the meal, and
                     clean up the dining room after each meal;

                  d. That PCAs and MAs fold the scheduled and unscheduled laundry between
                     resident care and medication administration at all times of the day;

               e. That the housekeepers rarely did laundry because they were occupied with the
                  general facility and resident room cleaning throughout the day;

               f.     That there were two (2) to three (3) PCAs and MAs that performed
                      approximately 2 hours of dietary aide work for each meal;

               g. That MAs process all the physician's orders and that the facility does not have
                  a Resident Care Coordinator ("RCC") to assist with orders;

              h. That there was no back up staff to ensure all residents reported to the dining
                 room for each meal;

              1.      That the facility needs more staff; and

              J.     The administrator also acknowledged that MAs performing dietary aid duties,
                     personal care duties and laundry duties: "may have caused their occasional
                     delays in the [medication aides] med passes."

       69.    Medications scheduled to be administered at 08:00 a.m. not being administered

until12:00 p.m.



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          70.      As noted supra, a failure to administer medication within one (1) hour of the

 scheduled time is a violation of lOA N.C.A.C. 13F .1004(g).

          71.      Residents who contracted for Basic Services and Med Level 2 medication

 administration have not been provided with the services they contracted for because there was

 not suft1cient staff available to provide them.

          72.      Upon information and belief, in addition to failing to timely deliver medication,

Defendants have also failed to properly monitor resident prescriptions to assure they have the

necessary medications on hand to distribute pursuant to physician orders.

         73.      Another NC DHSR survey completed at The Crossings on July 27, 2015 noted

consistent staffing levels of the Special Care Unit of one staff to twelve residents on the third

shift in conjunction with some resident elopements on third shift.

         74.      A_nother NC DHSR survey was completed at Gabriel Manor on May 28, 2015.

These findings were 149 pages and noted a plethora of deficiencies, including, but not limited to:

                  a. Class Al violations related to facility management;

                  b. failing to assure the Special Care unit was clean, orderly and protected from

                     contamination;

                  c. failing to assure that medication were administered as ordered;

                  d. failing to report allegation of abuse within 24 hours; and

                  e. failing to assure minimum staffing levels.

   VI.         The Impact of Saber's Understaffmg Policy in the North Carolina Care Centers

         75.      As a result of the Saber's understaffing policy at the North Carolina Care Centers,

Plaintiff and the Class Members have not received housekeeping, grooming, toileting, and

showering assistance as contemplated by the parties as part of the Basic Services.



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         76.        For example, the NC DHSR survey completed at Franklin Manor on December

  14, 2015 noted the following:

                    a. Observation of the resident's room on December 8, 2015 revealed that the
                       resident was in a reclined position. The resident was wearing a burgundy robe
                       with food stains;

                    b. The resident had not been showered;

                c. There was TED (Thromboembolism-deterrent) hose hanging on the bathroom
                   towel bar rather than in use on the resident's legs;

                d. There were several Styrofoam breakfast dishes and cups in the resident's
                   room on the chairside, table and dresser;

                e. There was a dry erase board on the wall behind the resident which read "write
                   the times after every Depends (adult diaper) change every 2-3 hours" with no
                   written times or dates;

                f.    A follow-up visit by NC DHSR on December 9, 2015 revealed that the
                      resident's incontinent brief was soiled with runny stool;

               g. The resident's thighs were red and excoriated;

               h. The resident was unable to stand up to get to her walker and asked the home
                  health nurse for assistance to stand;

               1.     The resident's robe was wet in the buttock area;

               j.     The resident's brown-tinged nails had fecal matter underneath each of her 2-
                      centimeter long nails on both hands;

               k. The resident's toenails were in need of being cut as evidenced by
                  approximately 2 centimeters of overgrowth on each toe; and

               1.     The resident was still not wearing TED hose as ordered.

       77.     Another NC DHSR survey completed at The Crossings on June 30, 2015 found a

resident whose hair was oily and appeared" ... grimy and in dirty clothing today." The survey

further noted that the resident was wearing the "same clothing outfit from last visit by

responsible party 3 weeks ago." After reviewing the bathing logs of the facility, it was



                                                  17


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 determined that this resident was not listed as being provided with a bath for the entire month of

 June, 2015.

                                 CLASS ACTION ALLEGATIONS

         78.     Plaintiff brings this class action pursuant to N.C. Gen. Stat. § lA-1, Ruie 23 on

 behalf of herself a.11.d Classes defined as follows:

                 Iniu.nctive Relief Class:

                All residents of the Special Care Units at Franklin Manor
                Assisted Living Center, Gabriel Manor Assisted Living Center,
                and/or The Crossings at Steele Creek


                Monetary Reiief Class:

                All persons who were private pay residents of the Special Care
                Units at Franklin Manor Assisted Living Center, Gabriel
                Manor Assisted Living Center, and/or The Crossings at Steele
                Creek from January 1, 2012 through the present.

        79.     Plaintiff reserves the right to redefine the Classes prior to class certification.

        80.     Excluded from the Classes are: (a) any judge or magistrate presiding over this

action and members of their families; (b) any Defendant and/or Third-Party Defendant and any

entity in which any Defendant and/or Third-Party Defendant have a controlling interest or which

has a controlling interest in any Defendant and/or Third-Party Defendant and its legal

representatives, assigns and successors of any Defendant and/or Tnird-Party Defendant; and (c)

all persons who properly execute and file a timely request for exclusion from the Classes.

        81.     Numerosity: The Classes are composed of hundreds of residents of the North

Carolina Care Centers who either reside or resided at those facilities since January 1, 2012.

Franklin Manor is a Special Care Unit licensed by the State of North Carolina to have a

maximum capacity of 54 residents at any given time. Gabriel Manor contains a Special Care Unit

licensed by the State of North Carolina to have a maximmn capacity of 48 residents at any one
                                                   18


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given time. Steele Creek contains a Special Care Unit licensed by the State ofNorth Carolina to

have a maximum capacity of 48 residents at any one given time. The potential Class Members

are composed of hundreds of persons geographically dispersed throughout the State of North

Carolina and the country, the joinder of whom in one action is impractical. Moreover, upon

information and belief, the Classes are readily ascertainable and identifiable from the

Defendants' records.

           82.    Commonality: Questions of law and fact common to the Classes exist as to all

Class Members and predominate over any questions affecting only individual Class Members.

These common legal and factual issues include the followin,_g:

           a.     Whether Defendants' staffing was sufficient to meet the safety, good
                  grooming, and well-being needs ofthe Plaintiff and Class Members;

       b.        Whether Defendants intended to comply with the terms of the Resident
                 Agreement at the time of contracting;

       c.        Whether Defendants' business practice of staffing at a level that it knew or
                 should have known was inadequate to meet the safety, good grooming,
                 and well-being needs of the Plaintiff and Class Members;

       d.        Whether Defendants' uniform understaffing policy prevented the
                 provision of "Additional Services" contracted for and purchased by
                 Plaintiff and the Class Members;

       e.        Whether Defendants' conduct, acts, and/or omissions constitute a breach
                 of contract with the Plaintiff and Class Members;

      f.         Whether Defendants' conduct, acts, and/or omissions is a violation ofthe
                 North Carolina Unfair Trade Practices Act;

      g.         Whether Defendants violated and continue to violate resident's rights
                 sufficient for injunctive relief as set forth in N.C. Gen. Stat.§ 131D-19, et
                 seq;

      h.         Whether Plaintiff is entitled entitled to pre-judgment interest, costs, and
                 attorneys' fees from Defendants; and

      1.         Whether Plaintiff and the Class Members have sustained damages and, if
                 so, the proper measure of such damages, including trebled damages.
                                                 19

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            83.    Typicality: Plaintiffs claims are typical of the claims of the members of the

 Classes, as all such claims arise out of Defendants' uniform course of wrongful conduct

 complained of herein.

           84.     Adequate Representation: Plaintiff will fairly and adequately protect the interests

 of the Class Members and have no interests antagonistic to those of the Classes. Plaintiff have

 retained counsel experienced in the prosecution of complex litigation arising from skilled nursing

 and assisted living facilities in addition to extensive exnerience nursuing class actions.
 --··-   ----        C-.:1                                 ....      ..1,     .......




           85.    Predominance and Superiority: This class action is appropriate for certification

because questions of law and fact common to the Class Members predominate over questions

affecting only individual Members, and a class action is superior to other available methods for

the fair and efficient adjudication of this controversy, since individual joinder of all members of

the Classes is impracticable. Should individual Class Members be required to bring separate

actions, this Court and courts throughout North Carolina would be confronted with a multiplicity

of la\vsuits burdening the coLL.-rt system 'l.fhile also creating the risk of inconsistent rttlings a..11d

contradictory judgments. In contrast to proceeding on a case-by-case basis, in which inconsistent

results will magnify the delay and expense to all parties and the court system, this class action

presents far fewer management difficulties while providing unitary adjudication, economies of

scale and comprehensive supervision by a single court.

          86.     All conditions precedent to the prosecution of this action have been satisfied.

                                   FIRST CLAIM FOR RELIEF
                                       (Breach of Contract)

          87.     Plaintiff re-alleges and incorporates by reference the following preceding

paragraphs of the Complaint as if fully set fmih herein: 1-3, 10, 13-34,45-52, 56, 60, 65-69,71-

82(b)(c)(e)(f)(h)(i), 83-86.
                                                   20


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            88.      At all times relevant hereto, there existed a valid and enforceable contract-

  Residency Agreement--between Plaintiff and Class Members and Defendants.

           89.       Plaintiff and Class Members entered into contracts known as Residency

 Agreement(s) with Defendants for the provision of assisted living services.

           90.       Plaintiff and Class Members paid good and valuable consideration for the

 provision of Basic Services and Additional Services under the Residency Agreement(s).

           91.       Defendants contracted with Plaintiff and the Class Members to provide assisted

 living services that would meet the needs of the residents, including: "room, board, and such

 services as may be required for the ... safety, good grooming and well-being of the resident[s]."

           92.      Defendants failed to comply with their contractual obligations to provide services

 to meet the safety, good grooming and well-being needs of the Plaintiff and Class Members.

          93.       Defendants' conduct constitutes a material breach of their contract(s) with

Plaintiff and the Class Members.

          94.       As a result of the foregoing breach of contract, Plaintiff and Class Members

suffered actual damages as Plaintiff and Class Members did not receive the services that

Defendants contractually agreed· to provide.            Thus, Plaintiff and the Class Members have

incurred damages in an amount in excess of$25,000, said amount to be proven at the trial ofthis

action.

                                  SECOND CLAIM FOR RELIEF
                 (North Carolina Unfair Trade Practices Act, N.C. Gen. Stat.§ 75-1.1)

          95.      Plaintiff re-allege and incorporate by reference the following preceding

paragraphs of the Complaint as if fully set forth herein: 1-3, 10, 13-34, 45-52, 56, 60, 65-69, 71-

72, 75-82(b-i), 83-93.




                                                   21


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           96.    N.C. Gen. Stat. § 75-1.1 makes unlawful, "unfair methods of competition in or

 affecting commerce and unfair or deceptive acts or practices in or affecting commerce."

           97.    Defendants are not members of a learned profession as Defendants are not

 medical professionals.

           98.    The conduct in question does not relate to the rendering of professional services.

 Rather, the conduct in question relates to the failure to: (1) provide purely physical and ma..~ual

services pursuant to the terms of the Residency Agreement; and (2) to determine the length of

time needed to perform those physical and manual services.

        99.      By operating the North Carolina Care Centers, the Defendants have affected

commerce and trade within the state.

        100.     Defendants did not provide services that they contractually agreed they would

provide.

        10 1.    Defendants engaged in unfair acts or practices by establishing a uniform business

model of staffing the North Carolina Care Centers to the Objective Threshold rather than the

Staffing Standard to meet the needs of the residents. Defendants knew or should have known that

this conduct would result in its inability to provide Plaintiff and Class Members with the Basic

Services that Defendants agreed to provide in the Residency Agreement. Defendants engaged in

this conduct solely to maximize profits.

       102.      Defendants knew or should have known-based on their intent to staff the Special

Care Units with the minimum number under the Objective Threshold rather than the Staffing

Standard-that they would not be able to comply with the terms of the Residency Agreements.

       103.      Defendants never intended to comply with their obligations under the Residency

Agreements at any time including when they entered into the Residency Agreements with

Plaintiff and the Class Members.
                                                 22


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         104.          Defendants' breach of contract with the Plaintiff and the Class Members is

  accompanied by numerous substantially aggravating factors:

                   a. Defendants' conduct is offensive to established public policy of promoting the

                      interests and well-being of the residents of adult care homes;

                   b. Defendants never intended to fulfill their obligations under the contract including

                      at the time of contracting;

                c. Defendants' breach of the Residency Agreements was malicious;

                d. Saber's corporate policy of understaffing their facilities was driven by greed to

                      increase profit margins at the expense of the elderly and demented;

               e. This contractual dispute does not involve a disagreement between sophisticated

                      businessmen;

              f.     The elderly and demented are not in a position to speak up when their needs are

                     not being provided for consistent with the Residency Agreements;

              g. Plaintiff and the Class Members were in an unequal bargaining position with

                     Defendants;

              h. Defendants conduct is an inequitable assertion of one party's power or position.

              1.     Defendants' conduct is substantially harmful to like consumers if allowed to

                     continue unchecked; and

           J.        In other ways to be shown at the trial of this action.

       105.          It is unfair for Defendants to enter contracts that Defendants knew they could not

and would not perform based upon their unfair and illegal business model of inadequate staffmg.

       106.         Defendants earned windfalls in the form of payments under the Resident

Agreements for services they did not perform.

       107.         Defendants' conduct is immoral, unethical, oppressive, and unscrupulous.
                                                      23


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                108.    Defendants' conduct was the direcl and proximate cause of actual damages to

    Plaintiff in that she paid enormous amounts of money under the Residency Agreements for

    services they did not receive. Thus, Plaintiff and Class Members seek as actual damages the

    difference between the value of ser,rices Defendants agreed to provide in the Residency

    Agreement and the value of serv'ices Defendants actually provided.

                109.   Plaintiff and Class Members are not seeking any damages for personal or mental

    111Jtuy.

               110.    Defendants' unfair trade practices have directly and proximately caused

    Plaintiffs damages in an amount in excess of$25,000.00, said amount to be proven at the trial of

this action.

               111.    By reason of the foregoing, Plaintiff is entitled to have her damages trebled and

have the costs of this action, including reasonable attomey' s fees, taxed against the Defendants

nursuant to N.C. Gen. Stat.S
•                                  v
                                       75~16   and N.C. Gen. Stat. S 75-16.1.
                                                                   v




                                      THIRD CLAIM FOR RELIEF
                (injunctive Reiiefto Enforce Provisions of N.C. Gen. Stat.§ 131D-19 et seq.)

               112.    Plaintiff re-alleges atJ.d incorporate by reference the preceding paragraphs of the

Complaint as if fully set forth herein.

               113.    At all times relevant hereto, the North Carolina Care Centers were required to

comply with the Adult Care Home Bill of Rights, N.C Gen. Stat § 131 D-19, et seq.

               114.    Pursuant to N.C. Gen. Stat. § 131D-28, every resident has the right to institute a

civil action for injunctive reliefto enforce the provisions ofN.C. Gen. Stat.§ 131D-19, et seq.

               115.    Plaintiff and Class Members are residents as defined by N.C. Gen. Stat. § 131D-

20.




                                                          24


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           116.     Defendants have violated provisions of N.C. Gen. Stat. § 131D-19, et seq.,

 including, but not limited to, N.C. Gen. Stat. § 131D-21 and N.C. Gen. Stat. § 131D-25.

           117.    Defendants have also violated numerous regulations contained in lOA N.C.A.C.

 13F.Ol01, et seq., including, but not limited to, lOA N.C.A.C. 13F.0604, lOA N.C.A.C.

 13F.0802, lOA N.C.A.C. 13F.l004, lOA N.C.A.C. 13F .1308, and N.C. Gen. Stat. § 131D-2.15.

           118.    Violations of these regulations constitute violations of the residents' rights,

including those of Plaintiff and the Class Members, enumerated in N.C. Gen. Stat. § 131D-21.

        119.       Accordingly, Plaintiff and Class Members seek injunctive relief preventing

Defendants from continuing to understaffthe North Carolina Care Centers at levels below what

is necessary to meet the needs of the Plaintiff and Class Members.

                                        PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, collectively and on behalf of all others similarly situated, pray

for a judgment against Defendants as follows:

       1.         For a declaration that the corporate form of Defendants be disregarded for

                  purposes of allowing Plaintiff and Class Members to reach the assets of .

                  Defendants;

      2.          For actual damages sustained by Plaintiff and the Class Members;

      3.          For equitable and/or injunctive relief pursuant to N.C. Gen. Stat. § 131D-21;

      4.          For payment of costs of suit herein incurred;

      5.          For both pre-judgment and post-judgment interest on any amounts awarded;

      6.          For payment of reasonable attorneys' fees and costs as may be allowable under

                  applicable law, including, but not limited to, pursuant to N.C. Gen. Stat. § 75-16;

      7.          For treble damages for its unfair trade practices as provided in N.C. Gen. Stat. §

                  75-16; and
                                                   25

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       8.      For such other and further relief as the Court may deem just and proper.

                                 .DEMAND FOR JURY TRIAL

       Plaintiff hereby demands a trial by jury on all claims so triable.

Respectfully submitted, this the 'J"fday ofOctober, 2017.
                                         /]         1.~A _
                              By:       /k~         l,tj~
                               .      Si}ph~J. Gugenheim
                                     M.C. State Bar No. 29776
                                     Andrew D. Hathaway
                                     N.C. State Bar No. 36801
                                     Gugenhein:. La,}i/ Offices, P.C.
                                     116 N. Person Street
                                     Raleigh, 1'-Jorth CaroliJla 27601
                                     Telephone: 919-836-5551
                                     Fax: 919-836-5550
                                     Email: Steve@gugenheimlaw.com
                                     Email: Drew@gugenheimlaw.com

                                     Daniel K. Bryson
                                     N.C. State Bar No. 15781
                                     Matthew E. Lee
                                     N.C. State Bar No. 35405
                                     Jeremy R. Williams
                                     N.C. State Bar No. 48162
                                     Whitfieid, B:ryson & 1\-bsou, LLP
                                     900 West Morgan St.
                                     Raleigh, North Carolina 27603
                                     Telephone: 919-600-5000
                                     Email: Dan@wbmllp.com
                                     Email: Matt@wbmllp.com
                                     Email: Jeremy@wbmllp.com
                                     ATTORNEYS FOR PLAINTIFF




                                               26


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                                   wi I I. Si3V1 on d~ of move-1 Vl
                                  FYaVlf:llYl N\aV1DV represen-ttiivv
                             Operations LLC DBA Fllinklifl Manor Assisteq Living


       This   RA!~in.~n~~
       by and between
       (the "Facility"),                                    (•Resident"} and
      ("Representative~). Hereinafter, when capitalized, the term "You" shall refer Jointly and severally to the
      Resfdent and the Representative.
      In consideration of the mutuai promises and covenants contained in this Agreement. the parties
      hereby agree as follows:

                            I ••ERVICES                           service and housekeeping, as set forth in
                                                                  the Fee Schedule.
      A. Basic ServiceS. The Facility agrees to
         provide room board, and such services as             8. Additional Services Rates. You shalt pay
         may be required for the health, safety, gQod            the rates set forth In the Fee- Schedule for
         grooming, and well-being of the Resident.               any additional services upon receipt of an
        The Facility's current list of services included         Invoice.
        In the Basic Rate is located In the Fee              C. Security Deposit. You shall pay to the
        Schedule.                                                   ..... m,, u•r
                                                                  .~...,._"'"l,t  "'" ad"ft___
                                                                                         vaan;t;1 ~ .. -
                                                                                                  ;:;utn - -u~·
                                                                                                         eq  a1  To
                                                                                                                 "
   8. Addltlo~l Services. In addition to the Basic                $        !2....      , which ls due upon signing
       Services, the Facility wiij provide certain                of this Agreement Tt:;e secur!t'; deposit shall
       additional non-routine services and supplies              be refunded within fourteen(14) days of
      in accordance wfth the orders of the                       termfnatian of this Agreement, provided that
      Resident's attending physician and/or upon                 all of the following conditions are satisfied:
      the Residenrs request or consent The                       (1) You compiled with the termination
      Facility's current list of these services is              provisions of this Agreement; (2) Resident's
     located in the Fee Schedule.                               unit is vacated and le.ft In a plean and
                                                                habltabie condition that is ava!labie for rental
 c.    Services of Other Providers. The Resident                upon surrender of the unit; and (3) the
       may receive seryices from outside providers              amount of the security deposit is sufficient to
      in the Facility so lang as the outside provider           cover the cost of any debts owed to the
      is property licensed and certified under the             FacJIIty, Including, bi.Jt not limited to, any
      law, complies with all applicable government             payments due to the Facility, If applicable, or
      rules and the Facility policies. You must notify         for damages to Re$ident's urilt or the
      the Facility prior to engaging any outside               common areas of the building attributable to
      person or entity to provide services to                  Resident, ordinary wear and tear excepted;
      Resident at the Facility in order to discover            and if not, any security deposit will be
      what particular rules and policies may apply.            applied to satisfy such debts or to repair any
                                                               damages first before a refund, if any, is
                U. CHARGES & FEES                              provided to You. Any deduction from the
 All ·charges, fines, or penalties that will be                security deposit shall be itemized and
assessed against the Resident by the Facility are              identified by the Facility in a wrftten notice
included in this Agreement.                                    delivered to You together wfth the amount of
                                                               the securtty deposit due to You. Should
A. Basic Rate. You shall pay in advance the                   damages attributable to Resident exceed
   Basic Rate of $             for all basic                  the security deposit, You agree to reimburse
   ~rvices and supplies provided by the                       the Faciiity for any additional expenses
   Facility, such as room, board, laundry, meal               incurred upon receipt of an invoice.
                                                           D. Third-Party ResponslbiUty for Payment.
                               EXHIBIT

                      I          /f

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     1. No Personal L!apiltly of Beeresenf<!tiv¢. All          E. Rate Changes. The Basic Rate may be
        financial obligations In this Agreement are the           adjusted by the Facility at any time upon
          Resident's, and nothing In this Agn:emeni                 thirty (30) days advance vviitten notice to tha
       shall    be    construed   to   reauire   that   a          Resident Current charges for additional
       RepreSentative Is in any way pGrsonally Hable               services are available to You upon request.
        to pay for services rendered by the Faclllfy io
                                                              F~    Serv!ces of Other Prov!ders, You agree to
        the Resident. Notw!thstelndfng the foregoing,
       Representati-ve rnay be iiabfe for cha;ges to               be responsible for charges Incurred by




                                                                                                                      I
       the extent that he/she mlsapproprh:ftes,                    outside providers, and not to hold !he
       steals, or otlwrvli-se diVerts a Resident's                 Facility liable in any way for the cost of those
      resources tha! are due 1o the Facility under                 services.
      !his Ag~ement.                                         G. late Charge-!9 and Cost of Collection. Any
  2. Putv of &!RreSemattve. During the teim of                  charges not paid ·by You v.1thln--thb1'J (30)
     his/her residency, the Resident may need                    days of t'!S due date shan be subject to a late
      asslstaf'Jce in arranging for payment for the              charge equal to one and half percent (1.5%)
      services provided. You have asserted to the                of the amount due per month, payable on
     Faclifty that me Representative snail act on                demand, to cover the Facility's charges and
     the Residenfs behalf to satisf't the R€Sfdsn1's            ex:penses in connection with administering
     financial obUgations under this Agreement If               and coflecting same, ahd such payment
     the Resident chooses not to, or Is unab~ to,               shall not constitute a waiver of the Facility's
     meet those obligations.                                    other rights ar.d remedies ur.der this
                                                                Agreement. In the event that the Fa<:illty
 3. Limitation  on  Access     to   ResfdAAfs                   Initiates any legal action or proceedings to
    Resources. You hereby certify that no one                  collect payments due from You under this
    else has financial access or control over the              Agreement, You shall be responsible to pay
    Resldef!t'S Income, resources and assets,                   all attorney's fees and costs lncu~ by the
    and ths.t You wm not grant any other person                 Facility in pursuing the enforcement of the
    or entitY access or control over said Income,              Resldenfs financ-!al obligations. If any check
   resources or assets (with the exception of the              or payment from You Is returned unpaid by
   Facility) during the term of this Agreemlant,               the bank for Insufficient funds or for any
   unless such other person or entity first                    other reason, You agree to pay the Facility a
   becomes a party to ihis Agreement.                         sew-vice charge upon demand. You agree
                                                              that said service charge Is for the extra oosts
4. Dlyerslon     of     Resident's      Besources.            and expenses incurred with the collection,
   Represrntative agrees to be a good financial               handling, and processing of such returned
   stewarq of the ResldenfB income, resources                 check.
  and assets over which he/she has control.
  Representative understands and agrees that             H. Refunds. if, after an outstanding debts         to
  the misappropriation, theft or redirection of             the Facility have been paid, the Facility
  those    resources    so that   the Resident's            determines that You have overpaid for
  financial obligations under tliis Agreement               s.erviGe-S, then the F;;~(!!l!ty \vii! refund ~uch
  are not met Is a violation of this Agreement,             overpayment In ninety {90) days.
 and may constitute a criffifl. !f any payments
 or funds of the Resident that are available to         J.   No Credits for Absence from Faciilty.
 pay for the Resident's care are wlfhheld,
                                                             Credits or refunds are not made for
 misappropriated for personal use, or                        temporary absences from the Resident's
 otheiWise not turned over to the FacUlty for                unit, e.g., when the Resident is In the
 payment of the Resident's financial                         hospital, a nursing faGillty or on vacation.
 obligations under this Agreement, then                 J. Obligation to Keep the FacUlty Informed.
 Representative agrees to pay those amo4nts                You understand that You are ·under a
 to the Faciiity from the Representative's own             continuing obUgatlon to keep the Facility
 resources.                                                  informed of changes in the Residenfs

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                                                                                                                         I
                firiancial status, and to immediately inform        2, Except for residents receiving hospice c.are
               the Facillty of such changes that may affect             or when a physician certifies that
               the Resident's ability to pay for the goods and         appropriate care can be provided on a
               services prolllded   tw     the Faclllt)< This          temporary basfs. fo meet the Resident's
               obligation includes providing ftje Facility with        needs and prevent unnecessary reiocatlon,
              an accurate financial statement In a form                   !he FacUlty Is legally required to discharge
              acceptable to the Facility upon request. You             any resident with any of the foflowing
              agree that if the Facility Is not paid for goods         conditions or care needs:
              and services rendered, then this Agreement
             may be termlnateQ at the option of the                   a. Ventilator dependency;
             Facllity, and that the Faclliiy reserves the             b. !ndividua!s requiring continuous licensed
             right to take all aPPropriate legal action.                 nursing care;
      J<.     Disputed Debts. You are responsible for                 c.    Individuals whose physician certifies lhat
             payment In full of all amounts due and oWing                   placement is no longer appropriate; or
             to the Facility. If you disagree with a charge,
             you must notify the Administrator In writing of         d.     lndMduals whose health needs cannot
             any dispute, and provide reasons and                          be met In the Facility as determined by
            evidence of Why you believe the charge Is                      the Facility.
            Incorrect, within thirty (30) days after receipt
                                                                  3. All other discharges wl!i be based on one of
            of the first Invoice that includes the disputed
                                                                     the fortowing reasons:
            charge. If you do not submit such a written
         notification, then all chaiges shall be deemed              a. The discharge is necessary for the
         accurate and any dispute will be deemed                        Resident's welfare and the Residenfs
        waived. AI! communications concerning                           needs cannot De met In the faciilty as
        disputed debts, including an Instrument                         documented by the Resident's physician,
        tendered as full satisfaction of a debt, are to                 physlclan assis~ant or nurse practitioner;
        be sent directly to the Admlnl~trator of the
        facllity in writing.                                        b. The Resident's health has improved
                                                                       sufficiently so the Resident no longer
  L     No Legal or Equitable Interest. You have
        no legal or equitable interest In the reai or
                                                                       needs the services provlded by the
                                                                       Facility as documented by the Resident's
       personal property .of the Facility. The
                                                                       physician, physician assistant or nurse
       privileges under this Agreement are personal
                                                                       practltfoner;
       to the Resident and may not be assigned,
       sold or transferred by the Resident.
                                                                   c. The safety of other individuals in the
                   Ill. TERMINATION                                    facility Is endangered;

 A. General. You may terminate this Agreement                      d. The heaHh of other. individuals in the
      with fourteen (14) days written notice, subject                 facility is endangered as documented by
       to applicable State transfer arjd discharge                    a physician, physician assistant or nurse
       provislof!s. The Agreement will otherwise                      practitioner; or
      remain in effect unless the Facility
      Terminates the Agreement as stipulated in                   e. You fail!o pay the costs of services and
      this Section or until a different Agreement is                  acc..ommoda!ions by ttte payment due
      executed.                                                       date after receiving written notice of
                                                                      warning of discharge for failure to pay.
B. Transfer & Discharge.
1. The Facility is required by law to discharge              3. Medicaid        Program.the Facility is a
   anY resident who rooulres services or                          participant    in the medical assistance
   accommodations beyond that which it is                         program administered by the Nortn Carolina
   licensed to provide, or that which it actually                 Division of Medical Assistance; Personal
   provides to residents.                                         care service in assisted living facilities may
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         be covered by North Carolina Medicaid.
         Information regarding this program can be
                                                                        Resident's welfare_; and (2) has been
                                                                        identified to the Facility as the person
                                                                                                                           I
         obtained from North Carolina State Medicaid                ;esponsfble fOi SXGjCfsing tha r,ghts of the
         office.                                                    Resident ff and when he/she is mentally
                                                                    and/or physically Incapable of exercising
     C. Death. In the event of the death of the                     such fights on his or her own behalf. The
        Resident, this Agreement will continue ~ntil                Resident and Representative have Identified
         the last day of the month in which all amounts             the Representative as the pefEion t<1 be
        due to the Facility are paid In fuil. If the term           notified whenever such notifications are
        "Resident" is used In this Agreement to refer               nece5Sii!TY as required by law or in the
        to two {2) people, then, following the death of            judgment of the Faci!rty.
        one of the residents, the Agreement shall
        eontinw according to thill t>~me terms and           B.    t'~ondfscrlmJnat!on ... The       FacJtity offers fts
       conditions with     respect to the surviving                services to peiSOns wt-.ose needs can be
       resident.                                                   met by the Facility, without regard to race,
                                                                   creed, sex. age, national origin, handicap, or
    D. Effect of Termimtion and Holdover. After                    disab!llty,
       the Agreement Is terminated, You agree that
       You will ensure that the Resident moves oui           c.     Waiver. The faiiure of ine Faciilty Jn any one
      of the Facility. This includes moving out of the              or more instances, to insist upon strict
      Facility by the date specffied !n the discharge              compliance by You wfth, or its waiver of any
      notice In the event of an involuntary                        breach of, any of the tenns or provisions of
      discharge. If th~ R~ident does not move out                  this Agreement, shail not be construed to be
      of the Facility py the termination date, then               a waiver by the Facility of its rights to insist
      You agree that the Resident shalf       pay the             upon strict compliance by You with all of the
      Facility a per diem ratE! equai to two times me             terms and provisiYfiS of ihis Agreement.
      Facility's then-current rate for the occupied
      unit for all days that the Resident remains in        D. Partial Illegality. This Agreement shall be
     the Facility after tenninaiion of the                     construed in accordance with the laws of the
     Agreement. You agree to pay all of the                    State of North Carolina, and the county in
     Facility's expense$, Including attorney's fees            which the Facility is located shall be the sole
     and . oo.urt costs,_ for. any legaf action                   and     exclusive   venue    for     any   dispute
     commenced 6y-tfui F'aClTify to      en1orce the          ·OOt.tteen -the --parties, !nclud!ng,.- -but- -not-
     discharge or otherwise remove the Resiqent                limited 1o, litigation, special proceeding, or
     from the Facility.                                       other proceeding between the parties that
                                                              may be brought, arise out of or In eonnection
 E. Removal of BelonQJngs. You shall have                     with or by reason of this Agreement. If any
    seven (7) days after termination of this                   portion of this Agrooment       is
                                                                                              determined to
     Residency Agreement to remove the                        be illegal or not in conformity with applicable
    Residenfs belongings from the Facility. After             laws and regulations, such part shall be
    that time anv orooertv remaining unclaimed                deemed to be modifted so as to be in
    will be deemed abandoned, and the Facility               accordance with such laws and regulations,
    reserves the right to dispose of that property           and the validity of the balance of this
    at its sole discretion.                                  Agreement shall not be affected.
F. Payment of Accrued Charges. All accrued                E. Amendments. The Facility is not ljable f<:>r,
   charges must be paid in full upon invoice                 nor bound in any manner by, any
   after termination ofthe Agreement.                        statements, representations or promises
                                                             made         by any person representing or
          IV. MISCELLANEOUS                                   purporting to represent the Facility, unless
                                                             such      statements,    representations   or
A. Notifications;    Exercising      Rights     for
                                                             promises are set forth in writing and
   Resident By signing this Agreement, .the
                                                             Incorporated      into    this   Agreement.
   Representative is certifying that he/she: (1)
                                                             Modification of this Agreement may be made
   has an interest or responsibility in the
                              .                       4




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                oniy by agreement of bom/aii the parties in                  understand thai !he Faciliiy has reHed upon
               Wliting; provided, however, the Facility                      such information and agree that if any of the
               reserves !he right to amend the Agreement at                 fact$ were misrepresented or any import1ant
               any time in order to conform to changes in                   information was left out, then the Facility
              laws, and to amend policies, procedures, etc.                 may be forced to terminate the Agreement.
              as otherwise noted in this Agreement. The
                                                                    G. Incorporation of Other Documents. The



                                                                                                                             I
              Facility will provide You with at least thirty
             {30) days notice prior to making any changes               following     documents       are      hereby
             to thls Agreement to conform to changes in                 incorporated into this Agreement by
             the law.                                                  reference: Fee Schedule, all appllcaUon
                                                                       forms, financial statements, and medlcal
         F. R-epresentation of Accuracy. You represent                 records provided to the Facility as part of the
             that the information contained on the                    Resident's application for admission to the
             application forms, financial statements and              Facility; and all documents that the Resident
            health history provided to the Facility are. 1rue         signed or received during the admission
            to the best of your knowledge and belief. You             process to the Facility.

        THE PARTIES AGREE THAT THERE ARE NO ACTUAL OR INTENDED THIRD PARTY
        BENEFICIARIES OF THIS AGREEMENT OTHER THAN THOSE PERSONS OR ENTJnES WHOSE
        NAMES ARE SIGNED B~LOW. THEY HAVE READ AJ,.L OF THE TERMS Of THIS AG~EEMENT,
        AND THEY HAVE HAD AN OPPORTUNITY TO ASK QUESTIONS REGARDING THOSE TERMS.
     I GIVE PERMISSION TO MY REPRESENTATIVE TO SIGN ANY AND ALL DOCUMENTS THAT
    ARE PART pF THE ADMISSION P~OCESS TO THE f'ACILITY ON MY B~HALF AS MY AGENI. I
    AGREE THAT IN SIGNING ON MY f3EHALF, MY REPt<ESENTATM: BINPS ME TO ALL DUTIES
    IMPOSED BY SUCH DOCUMENTS AS IF J HAO SIGNl:D THEM MYSELF, INCLUDING tHE DUTY
    TO PAY THE FACILITY FOR SERVICES RENDERED.
   I UNDERSTANb AND AGREE THAT THE SERVJCES PROVIDED BY THE FACJLI'fv DO NOT
   INCLUDE CONTINUOUS ONE.ON-ONE MONITORJN.G OF THE RESIPENT, AND THAT MY
   EXPECTATIONS WILL BE CONSJS~NT WITH THI$ UNQERSTANDJNG. I AGREE THAT THE
   FACILITY IS NOT AN INSURER OF THE RESIDENT'S, WELFARE AND SAFETY, AND THAT THE
   RESIDENT WILL EXERCISE DUE
                            .  CARE TO PROTECt. HIMSELF/HERSELF FROM HARM.
  THE PARTIES DO fOR THEMSELVES, THEIR HEIRS, ADMINISTRATORS AND EXECUTORS,
  AGREE TO THE TERMS OF. THIS AGREEMENT IN CONSIDERA TlON OF THE FACILITY'S
  ACCEPTANCE OF AND RENDERING SERVICES TO THE RE$1DENT.

  iN WiTNESS WHERi:OF, the parties, intending to be legally bound, have signed this Agreement as of
  the date first above written.

  RESIDENT                                                      REPRESENTATIVE


 Signature                                                      Signature


 Print Name                                                 Print Name
The Facility
Signature

Print Name

Title
                                                        5




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                                                         Franklin Manor
                                                     Specializing in Dementia and Memory Care




                                                   Fee Schedule
                         Mont_hlv Rate:                     ("~ rP        Levels;

  Sma.ll Companion ...... $4,100.                                    •     Care Level 1 - inCluded in base rate
                                                                     •     Care Level 2 - $900 per ll!Onth-
 Large Companion ...... $4,400
                                                                           physically assistance of 2 _people fo:r
 Private Studio .......... $5,000                                          care or assistance with dining

                                                           Medication Management:
                                                                 •        Med Level 1 - included in base rate
What does the price include:                                     •        Med Level 2 - $300 per month

          •    Three meals and snacks per day
      •        Daily_ housekeeping services                Respite Options:
      •        Laundry service twice a week                   •           We offer short-term stays,
      •        Utilities included (phone, cable,                 including all of the standard
               electricity, water) .                            services and-amenities
      •        Local transportation                           Additional .........._,. ... $25 per day
      •       Emergency response system
  " Secure neighborhood
                                                          Move In Fee ................ $2,000
  • Shower assistance twice per week
                                                             •           A one-time, non-refundable move
  •           Physical assistance of one person                          Ln fee is r~quired prior to move in.
              for dressing, grooming, assistance                         The move in fee is for the
              to bathroom, showering (Care                               maintenance and upkeep of your
              Level J)                                                   suite and the common areas of the
  ~           Medication administration cost of 6                        community.
          · or fewer medications
                                                                                                            EXHIBIT

                                                                                                     i          B
Questions or concerns? Call Emily Abbott, Comm.urJty Relations Liaison at 919.482.5947 .




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     <?;b~
        HEALTHCARE
               GRoup
                                          ·
                                         Fran~lin        Manor


   Fee Schedule
    Room Trays .................... Additional $5.00 (Exception if the resident is sick/ill)



   Guest meals ................... Breakfast: $3.00

                                  Lunch:         $5.00

                                  Dinner:        $7.00

                                   Buffet:       $7.00




                                                                                                   I
  Laundty......................... Aqditionalload per week: $25.00/ $100.00 monthly



  Carpet   cleaning.~ ............. Additional   $1 00 (if needs commercial cleaning)



 Housekeeping .................. Additional day pet week: $25.00/ $100.00 monthly



 Pet deposit ..................... Additional $150.0P (non- refundable)                        I
 Incontinent supplies ....... Hindividual costs based on need per resident

*These will be charged to your monthly statement if using the community
services/ supplies. 10% delivery fee charged.
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Tr~'1sportation ... , ........... Additional visit $25 round trip
* Reminder: Transportation for physician visits will be scheduled Tuesday a.nd
Thursday.




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